                                                           ELECTRONICALLY  FILED
     Case 2:14-cv-01684-RDP Document 1-4 Filed 08/29/14 Page 1 6/24/2014
                                                               of 11 3:06 PM  FILED
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                                                                                 68-CV-2014-900463.00
                                                                                             U.S. DISTRICT
                                                                                  CIRCUIT COURT    OF      COURT
                                                                            JEFFERSON COUNTY, N.D.    OF ALABAMA
                                                                                                  ALABAMA
                                                                              KAREN DUNN BURKS, CLERK
            IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                             BESSEMER DIVISION

FRENCHIE GREENE,                               )
                                               )
               Plaintiff,                      )
                                               )
v.                                             ) CIVIL ACTION NUMBER:
                                               )
WAL-MART STORES EAST, L.P.,                    )
UNKNOWN MANAGER “X”,                           )
a foreign corporation licensed to do           )
business in the State of Alabama;              )
                                               )
                                               )

There may be other entities whose true names and identities are unknown to the Plaintiff at
this time who may be legally responsible for the claim(s) set forth herein who may be added
by amendment by the Plaintiff when their true names and identities are accurately
ascertained by further discovery. Until that time, the Plaintiff will designate these parties in
accordance with ARCP 9(h). The word “entity” as used herein is intended to refer to and
include any and all legal entities including individual persons, any and all forms of
partnership any and all types of corporations and unincorporated associations. The symbol
by which these party Defendants are designated is intended to include more than one entity
in the event that discovery reveals that the descriptive characterizations of the symbol
applies to more than one “entity”. In the present action, the party Defendants whom the
plaintiff must include by descriptive characterization are as follows:

No. 1, whether singular or plural, that person, firm, corporation or entity that Plaintiff is
hereby intending to designate and known only to the Plaintiff as Wal-Mart Stores East,
L.P.;
No. 2, whether singular or plural, that person, firm, corporation or entity that Plaintiff is
hereby intending to designate and known only to the Plaintiff as UNKNOWN MANAGER
“X”;
No. 3, whether singular or plural, that person, firm, corporation or entity, who or which
owned, maintained or had any interest in the premises known as Wal-Mart Stores East,
L.P., store #764, located at750 Academy Drive, Bessemer, AL 35022;
No. 4, whether singular or plural, that person, firm, corporation or entity who or which was
the lessee of the premises involved in the occurrence made the basis of this lawsuit;
No. 5, whether singular or plural, that entity or those entities, the persons, corporations, or
other legal entities who designed and constructed the premises known as Wal-Mart Stores
East L.P.;
No. 6, whether singular or plural, that entity or those entities who or which were contracted
to clean and maintain the premises including but not limited to the floors of the premises
involved in the occurrence made the basis of this lawsuit;
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No. 7, whether singular or plural, that entity or those entities, the persons, corporations, or
other legal entities who designed and constructed the premises known as Wal-Mart Stores
East L.P.;
No. 8, whether singular or plural, that entity or those entities, the persons, corporations, or
other legal entities who designed and constructed the premises known as Wal-Mart Stores
East L.P.;
No. 9, whether singular or plural, that entity or those entities, the persons, corporation or
other legal entities which were responsible for and who built the premises known as Wal-
Mart Stores East L.P.;
No. 10, whether singular or plural, that entity or those entities, the persons, corporations, or
other legal entities who designed and constructed the premises known as Wal-Mart Stores
East L.P.;
No. 11, whether singular or plural, that entity or those entities, the persons, corporations, and
other legal entities who were the managers, owners, employees or who were charged with or
undertook to insure a safe and hazard-free premises;
No. 12, whether singular or plural, that entity or those entities, the persons, corporations, or
other legal entities who had responsibility for or undertook cleaning, inspection or otherwise
were responsible for maintenance and cleanliness of the area where the Plaintiff, Frenchie
Greene, was injured;
No. 13, whether singular or plural, that entity or those entities, including, but not limited to
general liability insurance carrier of the entity which owned, occupied or maintained the
premises involved in the occurrence made the basis of this lawsuit;
No. 14, whether singular or plural, that entity or those entities, who or which provided any
insurance coverage, of whatever kind or character, for any of the named defendants or
fictitious party defendants (#1-16) listed or named herein;
No. 15, whether singular or plural, that entity or those entities whose negligence, or
wantonness, or other wrongful conduct contributed to cause the occurrence made the basis
of Plaintiff’s complaint;
No. 16, whether singular or plural, that entity or those entities other than entities described
above, which is the successor in interest of any of those entities described above;

Plaintiff avers that the identities of the fictitious parties defendant herein is otherwise
unknown to Plaintiff at this time or, if their names are known to Plaintiff their identities as
proper parties defendant is not known to Plaintiff at this time, and their true names will be
substituted by amendment when ascertained,                            )

Plaintiff avers that the identities of the fictitious party Defendants (#1-16) herein is
otherwise unknown to Plaintiff at this time or, if their names are known to Plaintiff their
identities as proper party Defendants are not known to Plaintiff at this time, and their true
names will be substituted by amendment when ascertained,
                                                     )
         Defendant(s).                               )
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                                      COMPLAINT

                                         PARTIES

       COMES NOW, the Plaintiff, Frenchie Greene, an individual, by and through his

attorneys, Frank S. Buck, J. Brooks Leach, and Rachel C. Buck, and represents unto this

Honorable Court the following:

       1.      The Plaintiff, Frenchie Greene, is over the age of nineteen years and is a

resident citizen of the City of Birmingham, County of Jefferson, State of Alabama.

       2.      The Defendant, Wal-Mart Stores East, L.P. is a foreign corporation and

was conducting business in the State of Alabama at all times pertinent hereto.


                                      COUNT ONE

                                     NEGLIGENCE

       3.      Plaintiff adopts by reference the factual allegations contained in the

foregoing Paragraphs of this Complaint as if the same were set forth at this point in

extenso.

       4.      The Plaintiff alleges that on or about September 13, 2012, Plaintiff,

Frenchie Greene, was a business invitee on the premises of Wal-Mart Stores East, L.P.,

located at 750 Academy Drive in the City of Bessemer, County of Jefferson, State of

Alabama.

       5.      The Plaintiff further alleges that on said date and at said place, the

Plaintiff, Frenchie Greene, was caused to slip, trip and fall, thereby causing him serious

personal injuries.
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        6.      The Plaintiff further alleges that on said date and at said place, the

Defendant, Wal-Mart Stores East, L.P., including the on duty managers and/or assistant

managers, and those defendants designated as fictitious parties (#1-16), (whose true and

correct names are unknown to the Plaintiff at this time but will be added by amendment

when ascertained), negligently maintained the area where the Plaintiff Frenchie Greene

was injured and negligently failed to inspect and provide a safe and hazard-free premises

in the area where the Plaintiff Frenchie Greene was injured.

        7.      The Plaintiff further alleges that the Defendant, including the on duty

managers and/or assistant managers, and those defendants designated as fictitious parties

(#1-16), (whose true and correct names are unknown to the Plaintiff at this time but will

be added by amendment when ascertained), had a duty to provide a safe, secure and

hazard-free establishment for patrons, including the Plaintiff, on said premises.

        8.      The Plaintiff further alleges that the Defendant, including the on duty

managers and/or assistant managers, and those defendants, designated as fictitious parties

(#1-16), (whose true and correct names are unknown to the Plaintiff at this time but will

be added by amendment when ascertained), were negligent in their maintenance of the

area where the Plaintiff Frenchie Greene was injured, and that the Defendants’

negligence rendered said area a hazard and otherwise dangerous condition for

individuals, including the Plaintiff, utilizing the area.

        9.      The Plaintiff further alleges that the Defendant, including the on duty

managers and/or assistant managers, and those defendants designated as fictitious parties

(#1-16), (whose true and correct names are unknown to the Plaintiff at this time but will

be added by amendment when ascertained), negligently caused and/or allowed an
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inherently dangerous condition to exist on said premises and failed to warn the Plaintiff

or other members of the public about such dangers.

         10.   The Plaintiff further alleges that as a direct and proximate result of

aforesaid negligence, on the part of the Defendant, including the on duty managers and/or

assistant managers, and those defendants designated as fictitious parties (#1-16), (whose

true and correct names are unknown to the Plaintiff at this time but will be added by

amendment when ascertained), Frenchie Greene was proximately caused to suffer the

following injuries and damages, to wit:

               a.     Plaintiff was caused to suffer various injuries;
               b.     Plaintiff was caused to seek medical treatment in
                      and about his efforts to heal and cure his injuries
                      and will be caused to incur additional bills in the
                      future;
               c.     Plaintiff was caused to incur medical bills, hospital
                      bills, doctors’ bills and prescription expenses in an
                      effort to cure his injuries and will be caused to
                      incur additional bills in the future;
               d.     Plaintiff was caused to suffer physical pain,
                      suffering and discomfort;
               e.     Plaintiff was caused to suffer mental anguish,
                      distress and embarrassment.
               f.     Plaintiff was caused to suffer permanent injury and
                      permanent physical impairment.
               g.     Plaintiff was caused to have to undergo surgery and
                      rehabilitation in an effort to heal.

         11.   The Plaintiff avers that on said occasion, the negligence of all Defendants,

including those designated as fictitious parties (#1-16) (whose true and correct names are

unknown to the Plaintiff at this time but will be added by amendment when ascertained),

combined and concurred, caused the Plaintiff to be injured and damaged as set forth

above.
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                                       COUNT TWO

                                      WANTONNESS

       12.     Plaintiff adopts by reference the factual allegations contained in the

foregoing Count of this Complaint as if the same were set forth at this point in extenso.

       13.     The Plaintiff alleges that on or about September 13, 2012, Plaintiff,

Frenchie Greene, was a business invitee on the premises of Wal-Mart Stores East, L.P.

Inc. located in the City of Bessemer, County of Jefferson, State of Alabama.

       14.     The Plaintiff further alleges that on said date and at said place, the

Plaintiff, Frenchie Greene, was caused to slip, trip and fall, thereby causing him serious

personal injuries.

       15.     The Plaintiff further alleges that on said date and at said place, the

Defendant, Wal-Mart Stores East, L.P., including the on duty managers and/or assistant

managers, and those defendants designated as fictitious parties (#1-16), (whose true and

correct names are unknown to the Plaintiff at this time but will be added by amendment

when ascertained), wantonly maintained the area where the Plaintiff Frenchie Greene was

injured and wantonly failed to inspect and provide a safe and hazard-free premises in the

area where the Plaintiff Frenchie Greene was injured.

       16.     The Plaintiff further alleges that the Defendant, including the on duty

managers and/or assistant managers, and those defendants designated as fictitious parties

(#1-16), (whose true and correct names are unknown to the Plaintiff at this time but will

be added by amendment when ascertained), had a duty to provide a safe, secure and

hazard-free establishment for patrons, including the Plaintiff, on said premises.
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        17.     The Plaintiff further alleges that the Defendant, a including the on duty

managers and/or assistant managers, and those defendants, designated as fictitious parties

(#1-16), (whose true and correct names are unknown to the Plaintiff at this time but will

be added by amendment when ascertained), were wanton in their maintenance of the area

where the Plaintiff Frenchie Greene was injured, and that the Defendants’ wantonness

rendered said area a hazard and otherwise dangerous condition for individuals, including

the Plaintiff, utilizing the area.

        18.     The Plaintiff further alleges that the Defendant, including the on duty

managers and/or assistant managers, and those defendants designated as fictitious parties

(#1-16), (whose true and correct names are unknown to the Plaintiff at this time but will

be added by amendment when ascertained), wantonly caused and/or allowed an

inherently dangerous condition to exist on said premises and failed to warn the Plaintiff

or other members of the public about such dangers.

        19.     The Plaintiff further alleges that as a direct and proximate result of

aforesaid wantonness, on the part of the Defendant, including the on duty managers

and/or assistant managers, and those defendants designated as fictitious parties (#1-16),

(whose true and correct names are unknown to the Plaintiff at this time but will be added

by amendment when ascertained), Frenchie Greene, was proximately caused to suffer the

following injuries and damages, to wit:

                         a. Plaintiff was caused to suffer physical pain suffering and
                            mental anguish;
                         b. Plaintiff was caused to seek medical treatment
                            in and about his efforts to heal and cure his
                            injuries and will be caused to incur additional
                            bills in the future;
                         c. Plaintiff was caused to incur medical bills,
                            hospital bills, doctors’ bills and prescription
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                            expenses in an effort to cure his injuries and will
                            be caused to incur additional bills in the future;
                       d.   Plaintiff was caused to suffer physical pain and
                            discomfort;
                       e.   Plaintiff was caused to suffer mental anguish,
                            distress and embarrassment;
                       f.   Plaintiff was caused to be permanently injured.
                       g.   Plaintiff was caused to suffer permanent
                            physical impairment.
                       h.   Plaintiff was caused to have to undergo surgery
                            and rehabilitation in an effort to heal.

         20.   The Plaintiff avers that on said occasion, the wantonness of all Defendants,

including those designated as fictitious parties (#1-16) (whose true and correct names are

unknown to the Plaintiff at this time but will be added by amendment when ascertained),

combined and concurred, caused the Plaintiff to be injured and damaged as set forth

above.

         WHEREFORE, PREMISES CONSIDERED, the Plaintiff, demands judgment

against the Defendants in an amount to be determined and assessed by this trier of fact,

including compensatory and punitive damages, plus interest and costs of this litigation.

                         PLAINTIFF DEMANDS A TRIAL BY JURY


                                                       /s/ J. Brooks Leach
                                                       Frank S. Buck (BUC001)
                                                       Rachel C. Buck (BUC027)
                                                       J. Brooks Leach (LEA009)
                                                       Attorneys for Plaintiff



OF COUNSEL:
FRANK S. BUCK, P.C.
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Birmingham, Alabama 35255-5089
Telephone:    (205) 933-7533
Facsimile:    (205) 933-7545
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PLAINTIFF’S ADDRESS:
Frenchie Greene
c/o Frank S. Buck, P.C.
2160 14th Avenue South
Birmingham, Alabama 35205

                      PLAINTIFF DEMANDS A TRIAL BY JURY

                 DEFENDANT TO BE SERVED BY CERTIFIED MAIL


DEFENDANT’S ADDRESS:
Walmart Stores East, L.P.
c/o CT Corporation System
2 N. Jackson Street, Ste. 605
Montgomery, AL 36104
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        IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

FRENCHIE GREENE,                               )
                                               )
               Plaintiff,                      )
                                               )
v.                                             ) CIVIL ACTION NUMBER:
                                               )
WAL-MART STORES EAST, L.P.                     )
a foreign corporation licensed to do           )
business in the State of Alabama;              )
                                               )
                                               )
               Defendant(s).                   )


                                        SUMMONS

        This service by certified mail of this summons is initiated upon the written request of
Plaintiff’s attorney pursuant to the Alabama Rules of Civil Procedure.

       Notice To:      Walmart Stores East, L.P.
                       c/o CT Corporation System
                       2 N. Jackson Street, Ste. 605
                       Montgomery, AL 36104


        The Complaint, which is attached to this summons, is important and you must take
immediate action to protect your rights. You are required to mail or hand deliver a copy of a
written Answer, either admitting or denying each allegation in the Complaint to J. Brooks
Leach the lawyer for the Plaintiff whose address is: 2160 14th Avenue South, P.O. Box
55089, Birmingham, Alabama 35205. THIS ANSWER MUST BE MAILED OR
DELIVERED WITHIN THIRTY (30) DAYS FROM THE DATE OF DELIVERY OF
THIS SUMMONS AND COMPLAINT, AS EVIDENCED BY THE RETURN RECEIPT,
OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE
MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT. You must also file
the original of your Answer with the Clerk of this Court within a reasonable time afterward.



                                                       _____________________________
                                                       CLERK OF COURT


DATED: __________________
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           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

FRENCHIE GREENE,                            )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )CIVIL ACTION NUMBER:
                                            )
WAL-MART STORES EAST, L.P.                  )
a foreign corporation licensed to do        )
business in the State of Alabama;           )
                                            )
                                            )
              Defendant(s).                 )


                           REQUEST FOR CERTIFIED MAIL

        Pursuant to Rule 4.1 (c) of the Alabama Rules of Civil Procedure, I hereby request
that the attached documents be served on the Defendant named above by certified mail.



DATE: June 24, 2014                                        /s/ J. Brooks Leach_______
                                                           Frank S. Buck (BUC001)
                                                           Rachel C. Buck (BUC027)
                                                           J. Brooks Leach (LEA009)
                                                           Attorneys for Plaintiff


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